AO 442 (Rev. 11/11) (modified) Arrest Warrant

Case 2:20-1nj-offO-CKD Document 7 Filed 09/22 Page PED Fo0!

UNITED STATES DISTRICT Couf. | LED

for the SEP 9 9 2020

Eastern District of California

CLERK, U.8. DIBTRIOT COURT
United States of America EASTE N DISTRICT a v pF ANIA
Vv. ) BY, mie wate ete ms ae BA ps
) Case No. 20 D
) :
Kristy Lynn FELKINS
UV-SEALED
) I
Defendant :
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Kristy Lynn FELKINS
who is accused of an offense or violation based on the following document filed with the court:

CX Superseding Information

1 Violation Notice

& Complaint

OC Information
CX Order of the Court

C1 Superseding Indictment

C1 Indictment
C Supervised Release Violation Petition

ZC Probation Violation Petition

This offense is briefly described as follows:
18 U.S.C. § 1958 - Use of Interstate Commerce Facilities in the Commission of Murder-for-Hire

Card tt

9/14/2020 |
Issuing officer ’s signature

Date:

City and state: Sacramento, California Carolyn K. Delaney, United States Magistrate Judge
Printed hame and title

Aeturn 7 D5
d on (date) 9M STL

Z
This warrant w: Ny Op (date) 7 1 7 /e LO , and the person was arres
at (city and state) Fy io Po - : Jb
Date: o/ /oo C AS > , Yl ge
, United States Magistrate Judge
f name and title

a Printed

